Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 1 of 12 PageID #: 5




           EXHIBIT A
                                                                                                        Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
 Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 2 of 12 PageID #: 6
                                                                                19SL-CC05674

              IN THE CIRCUIT COURT OF THE 21st JUDICIAL CIRCUIT
                        OF MISSOURI, ST. LOUIS COUNTY

       BROOKE SEGREST                         )
                                              )
       Plaintiff,                             )       Cause No.:
                                              )
       v.                                     )
                                              )       Division:
       NATIONAL AVIATION                      )
       SERVICES, LLC                          )
                                              )
       Serve Agent at:                        )
                                              )
       Registered Agent Services, LLC         )
       3225-A Emerald Ln.                     )
       Jefferson City, MO 65109               )
                                              )
                                              )
                                              )
       Defendant.                             )       JURY TRIAL DEMANDED


                                  PETITION FOR DAMAGES

       COMES NOW, Plaintiff Brooke Segrest (“Plaintiff”), by and through undersigned counsel,

and for her Petition states as follows and affirms that the facts stated in are true according to her

best knowledge and belief:

                                    PARTIES AND VENUE

      1.       Plaintiff is citizen residing in St. Louis County in the State of Missouri.

      2.       Defendant National Aviation Services (“Defendant” or “NAS”) is a foreign

Corporation which conducts business in St. Louis County, where Plaintiff was employed by

Defendant, and is registered to do business in the state of Missouri.
                                                                                                       Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
 Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 3 of 12 PageID #: 7




     3.         The conduct alleged in this Petition in to have violated Missouri & Federal law took

place in St. Louis County, thus venue in the Circuit Court of St. Louis County is proper pursuant

to Section 508.010.4 MO Rev. Stat.

     4.         Plaintiff demands a trial by jury on all issues so triable in this case.

                             FACTS COMMON TO ALL COUNTS

     5.         Defendant is engaged in the business cleaning commercial aircraft and does so at

Lambert St. Louis International Airport.

     6.         Plaintiff began work for Defendant as an employee in March, 2019, assisting with

and supervising the cleaning of commercial aircraft at Lambert St. Louis International Airport

owned by Defendant’s clients.

     7.         Plaintiff was induced to join NAS based on a promise of a wage of $17 per hour

but was only paid $15.50 per hour.

     8.         Beginning in April, Plaintiff began coming in on off days and staying late in order

to cover for her General Manager, Leslie Lopez, but was not paid overtime she worked nor given

lunch breaks.

     9.         Plaintiff covering for Ms. Lopez in this manner is documented in part by text

messages between them.

     10.        She began working 63-65 hours per week, accumulating unpaid overtime in the

amount of approximately $550 per week.

     11.        Ms. Lopez was turning in time sheets in a way that corporate would not see the

extra hours worked and ignored Plaintiff’s demands that she be paid for all time worked.




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                                                                                                     Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
 Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 4 of 12 PageID #: 8




      12.      In May, an NAS employee named Jermaine came to work, and into an aircraft, with

a handgun.

      13.      In early May of 2019 Plaintiff reported to corporate that two employees, including

an employee named Jermaine, had cocked guns on their person while traveling to the Metrolink

they were using to commute to work.

      14.      The response of management, as articulated by a corporate manager named Paul

and General Manager Leslie Lopez, to the complaints about the firearms was “Let’s just leave it

alone, they’ll be gone soon.”

      15.      Close to the time of her first complaint about guns, a corporate manager named

Paul, visiting St. Louis, started rubbing her leg while driving her in a car and asked “Are you

having sexual relationships with anyone at work?”

      16.      Plaintiff turned down Paul’s advances.

      17.      On or about May 18, upon returning to work, Plaintiff complained to Mr. Lopez

about her general mistreatment and also failure to receive overtime, to which Ms. Lopez relied

“Go ahead and f---ing try to use it.”

      18.      Ms. Lopez also told Plaintiff “You won’t be doing anything after reporting, you

won’t be here long. You thought Jermaine was bad, wait until everyone has a problem with you,

you’ll only be cleaning toilets,” with respect to her various complaints, including about handguns

and threats.

      19.      Threatening statements by Ms. Lopez were recorded by Plaintiff.




                                                3
                                                                                                          Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
 Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 5 of 12 PageID #: 9




      20.      Jermaine then threatened Plaintiff while both were in a plane, presumably in

retaliation for her complaints, on May 23, stating he would “slice your throat” and would “shoot

your house and none of your kids will survive.”

      21.      A report was made by Plaintiff to the police about this incident and to again to

Defendant.

      22.      Another supervisor, Syndey, told the Police she heard the threats as well.

      23.      Around May 23, Plaintiff sent recorded hours of unpaid overtime to management,

but has never been compensated.

      24.      Unable to cope with these objectively and subjectively intolerable conditions,

which also represented a potential threat to her life, Plaintiff was forced to resign her position in a

constructive discharge, on or about May 28, 2019.

      25.      As a result of her experiences with NAS, Plaintiff has endured an incredible amount

of emotional distress and continues to deal with the daily fallout from the trauma she endured.

      26.      Plaintiff has also suffered significant damages in the form of lost wages and

consequential damages.

      27.      Defendant acted with reckless indifference and/or evil motive.

                        COUNT I - RETALIATION/ILLEGAL DISCHARGE
                   IN VIOLATION OF MISSOURI WHISTLEBLOWER STATUTE,
                                   MO. REV. STAT. 285.575

      28.      Plaintiff incorporates by reference the above paragraphs as if fully set forth herein.

      29.      Plaintiff was illegally constructively discharged and retaliated against by Defendant

due to her repeated & legitimate complaints about a specific and substantial dangers to public




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                                                                                                          Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
 Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 6 of 12 PageID #: 10




safety and of matter to the public interest as articulated in various regulations & statutes related to

aircraft safety, in violation of MO Rev. Stat. 285.575.

      30.      Defendant intentionally, and with retaliatory animus, caused the circumstances of

Plaintiff’s constructive discharge.

      WHEREFORE, Plaintiff respectfully requests judgement, pursuant to verdict by jury, in her

favor in an amount that is fair and reasonable for actual damages, back pay, front pay, interest on

damages, for her attorney’s costs and fees, and for such other and further relief to which the Court

deems just and proper.

            COUNT II – RETALIATION UNDER THE FAIR LABOR STANDARDS ACT

      31.      Plaintiff incorporates by reference the above paragraphs as if fully set forth herein.

      32.      Plaintiff illegally retaliated against Plaintiff in her terms and conditions of

employment based on her complaints of violations of the Fair Labor Standards Act of 1939, 29

USC 201 et seq. (the “FLSA”) and its antiretaliation provisions at Section 15(a)(3) (in combination

with her complaints implicating airline safety set forth in Count I above), thereby constituting a

motivating factor in her constructive discharge.

       WHEREFORE, Plaintiff respectfully requests judgement, pursuant to verdict by jury, in

her favor in an amount that is fair and reasonable for actual damages, punitive damages, emotional

distress damages, interest on damages, for her attorney’s costs and fees, and for such other and

further relief to which the Court deems just and proper.

               COUNT III – UNPAID WAGES IN VIOLATION OF THE FAIR LABOR
                                  STANDANDARDS ACT

      33.      Plaintiff incorporates by reference all preceding Paragraphs.


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                                                                                                       Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
 Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 7 of 12 PageID #: 11




      34.      In violation of the FLSA, Defendant failed to pay overtime wages due to Plaintiff.

      35.      These violations were intentional, thereby entitling Plaintiff to liquidated damages.

      WHEREFORE, Plaintiff respectfully requests judgement, pursuant to verdict by jury, in her

favor in an amount that is fair and reasonable for actual damages, liquidated damages, emotional

distress damages, interest on damages, for her attorney’s costs and fees, and for such other and

further relief to which the Court deems just and proper.

            COUNT IV – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      36.      Plaintiff incorporates by reference all preceding Paragraphs

      37.      By the acts described above, Defendant engaged in extreme and outrageous conduct

that resulted in great emotional distress and psychological harm to her person, most specifically in

permitting her to be threatened by co-workers carrying handguns at work.

      38.      Defendant’s conduct was so outrageous in character and extreme in degree as to go

beyond all possible bounds of decency.

      WHEREFORE, Plaintiff respectfully requests judgement, pursuant to verdict by jury, in her

favor in an amount that is fair and reasonable for actual damages, punitive damages, emotional

distress damages, interest on damages, for her attorney’s costs and fees, and for such other and

further relief to which the Court deems just and proper.




                                                 6
                                                                                    Electronically Filed - St Louis County - December 11, 2019 - 04:17 PM
Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 8 of 12 PageID #: 12




                                          Respectfully Submitted,

                                          _/s/ Jeffrey D. Hackney________________

                                          Jeffrey D. Hackney
                                          Missouri Bar No. 53158
                                          HKM Employment Attorneys, LLP
                                          13321 N. Outer 40 Dr., Suite 500
                                          Town & Country, Missouri 63017
                                          Telephone: 314-448-4282
                                          E-Mail: jhackney@hkm.com
                                          Attorney for Plaintiff




                                      7
            Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 9 of 12 PageID #: 13

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 19SL-CC05674
 RICHARD M STEWART
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BROOKE SEGREST                                                 JEFFREY DAVID HACKNEY
                                                                2 CITY PLACE
                                                                SUITE 200
                                                          vs.   CREVE COEUR, MO 63141
 Defendant/Respondent:                                          Court Address:
 NATIONAL AVIATION SERVICES, LLC                                ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Other Miscellaneous Actions                                 CLAYTON, MO 63105
                                                                                                                                      (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: NATIONAL AVIATION SERVICES, LLC
                                      Alias:
  REG AGENT SERVICES LLC
  3225-A EMERALD LN
  JEFFERSON CITY, MO 65109

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        23-DEC-2019                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                         Date                                         Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-11654          1   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 10 of 12 PageID #: 14
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




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                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 11 of 12 PageID #: 15
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:20-cv-00062-RLW Doc. #: 1-1 Filed: 01/13/20 Page: 12 of 12 PageID #: 16
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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